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 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                           CASE NO. 2:20-CR-00123-JAM-2
12                                Plaintiff,             STIPULATION REGARDING EXCLUDABLE
                                                         TIME PERIODS UNDER SPEEDY TRIAL ACT;
13                          v.                           FINDINGS AND ORDER
14   NATHANIEL OPONDO HUBBERT,                           DATE: October 27, 2020
                                                         TIME: 9:30 a.m.
15                                Defendant.             COURT: Hon. John A. Mendez
16

17                                             STIPULATION

18          1.      By previous order, this matter was set for a status conference on October 27, 2020. There

19 is an additional codefendant in this case, Mr. Steven Lawrence Robinson. Mr. Robinson is scheduled to

20 conduct a change of plea on October 27, 2020, and so this stipulation only applies to defendant

21 Nathaniel Opondo Hubbert.

22          2.      By this stipulation, Counsel for Mr. Hubbert now moves to continue the status conference

23 until January 26, 2021, and to exclude time between October 27, 2020, and January 26, 2021, under

24 Local Code T4.

25          3.      The parties agree and stipulate, and request that the Court find the following:

26                  a)     The government has represented that the discovery associated with this case

27          includes over eight gigabytes of evidence in electronic form, including police reports, pictures,

28          multiple hours of video footage, laboratory reports, search warrants, and a forensic cellular


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 1           phone report. All of this discovery has been either produced directly to counsel and/or made

 2           available for inspection and copying.

 3                    b)    Counsel for Mr. Hubbert desires additional time consult with her client, to review

 4           the existing discovery, to discuss potential resolutions with her client, and to otherwise prepare

 5           for trial.

 6                    c)    Counsel for Mr. Hubbert believes that failure to grant the above-requested

 7           continuance would deny her the reasonable time necessary for effective preparation, taking into

 8           account the exercise of due diligence.

 9                    d)    The government does not object to the continuance.

10                    e)    Based on the above-stated findings, the ends of justice served by continuing the

11           case as requested outweigh the interest of the public and the defendant in a trial within the

12           original date prescribed by the Speedy Trial Act.

13                    f)    For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

14           et seq., within which trial must commence, the time period of October 27, 2020 to January 26,

15           2021, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code

16           T4] because it results from a continuance granted by the Court at defendant’s request on the basis

17           of the Court’s finding that the ends of justice served by taking such action outweigh the best

18           interest of the public and the defendant in a speedy trial.

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        STIPULATION REGARDING EXCLUDABLE TIME              2
        PERIODS UNDER SPEEDY TRIAL ACT
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 1          4.      Nothing in this stipulation and order shall preclude a finding that other provisions of the

 2 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

 3 must commence.

 4          IT IS SO STIPULATED.

 5   Dated: October 22, 2020                                  MCGREGOR W. SCOTT
                                                              United States Attorney
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 7                                                            /s/ ADRIAN T. KINSELLA
                                                              ADRIAN T. KINSELLA
 8                                                            Assistant United States Attorney
 9
     Dated: October 22, 2020                                  /s/ KRESTA DALY
10                                                            KRESTA DALY
                                                              Counsel for Defendant
11                                                            NATHANIEL OPONDO HUBBERT
12

13
                                            FINDINGS AND ORDER
14

15
            IT IS SO FOUND AND ORDERED this 22nd day of October, 2020.
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17                                                     /s/ John A. Mendez
                                                       THE HONORABLE JOHN A. MENDEZ
18                                                     UNITED STATES DISTRICT COURT JUDGE
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      STIPULATION REGARDING EXCLUDABLE TIME               3
      PERIODS UNDER SPEEDY TRIAL ACT
